                                           Case 3:15-cv-01207-SI Document 184 Filed 05/19/17 Page 1 of 4




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    MAYER HOFFMAN MCCANN, P.C.,                        Case No. 15-cv-01207-SI
                                   8                   Plaintiff,
                                                                                           ORDER GRANTING IN PART
                                   9              v.                                       DEFENDANT'S MOTION FOR
                                                                                           JUDGMENT AS A MATTER OF LAW;
                                  10    CAMICO MUTUAL INSURANCE                            ORDER RE: JURY INSTRUCTIONS
                                        COMPANY,                                           AND VERDICT FORM
                                  11
                                                       Defendant.                          Re: Dkt. No. 173
                                  12
Northern District of California
 United States District Court




                                  13          This order resolves defendant’s motion for judgment as a matter of law and informs the
                                  14   parties regarding the substantive instruction and verdict form regarding reformation that the Court
                                  15   intends to provide to the jury.
                                  16          At the close of evidence, defendant filed a motion for judgment as a matter of law on
                                  17   plaintiff’s claims for breach of contract, breach of the covenant of good faith and fair dealing,
                                  18   reformation, and declaratory relief, and on defendant’s counterclaims for declaratory relief and
                                  19   reimbursement. Plaintiff has filed an opposition, and defendant has filed a reply.
                                  20          After careful consideration of the parties’ arguments and the evidence in this case, the
                                  21   Court GRANTS defendant’s motion as to plaintiff’s claims for breach of contract and breach of
                                  22   the covenant of good faith and fair dealing. The Court concludes that defendant did not deny
                                  23   plaintiff any policy benefits that were due under the policy as written, and thus that there was no
                                  24   breach of contract.1
                                  25          Plaintiff acknowledges that the policy as written does not provide coverage, but plaintiff
                                  26
                                  27          1
                                                 The Court finds that as a matter of law, the contracts at issue for purposes of plaintiff’s
                                  28   breach of contract claim are the 2007/2008 policies, and not the temporary binder that was then
                                       replaced by the 2007 policy.
                                           Case 3:15-cv-01207-SI Document 184 Filed 05/19/17 Page 2 of 4




                                   1   contends that particular language in the reinstatement endorsement is unenforceable because (1) it

                                   2   is ambiguous and not plain, clear and conspicuous; (2) the coverage provided was illusory; and (3)

                                   3   defendant failed to properly disclose the limitation contained in the endorsement. Based on the

                                   4   evidence at trial, the Court finds that as a matter of contract interpretation the language of the

                                   5   reinstatement endorsement is not ambiguous, and that it is plain, clear and conspicuous. The

                                   6   Court also finds as a matter of law that the coverage provided was not illusory. Finally, the Court

                                   7   finds that under the facts of this case, whether the limitation was properly disclosed to plaintiff

                                   8   does not go to whether defendant breached the clear and unambiguous language of the policy.

                                   9   Instead, the issue of disclosure is relevant to the Court’s consideration of plaintiff’s claim for

                                  10   reformation.

                                  11          For the same reasons, the Court finds as a matter of law that there was no bad faith. See

                                  12   Waller v. Truck Ins. Exch. Inc., 11 Cal. 4th 36, 44 (1995) (holding there is no bad faith liability
Northern District of California
 United States District Court




                                  13   where there is no breach of insurance contract); R & B Auto Center, Inc. v. Farmers Group Inc.,

                                  14   140 Cal. App. 4th 327, 352-54 (2006) (affirming dismissal of bad faith claim where there was no

                                  15   coverage under policy even where insured seeking reformation because “[s]ince it is reasonable to

                                  16   deny the claim at the time, if the policy is later reformed to provide retroactive coverage, the

                                  17   insurer may not be held liable for bad faith for failing to have the foresight to know that the policy

                                  18   would not be reformed”); O’Keefe v. Allstate Indemn. Co., 953 F. Supp. 2d 1111, 1116 (S.D. Cal.

                                  19   2013) (same).

                                  20          The Court finds it appropriate to seek advisory findings from the jury regarding plaintiff’s

                                  21   claim for reformation. The Court’s intended reformation instruction is as follows:

                                  22                                   REFORMATION -- ELEMENTS
                                  23          To obtain reformation of an insurance policy, the following essential elements must
                                              be shown:
                                  24
                                              1. an antecedent (usually oral) agreement between insured and insurer as to which
                                  25          there was no mistake;
                                  26          2. the insurance policy as drafted contains terms materially different from the
                                              parties’ antecedent agreement; and
                                  27
                                              3. that difference was the result of:
                                  28
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                                           Case 3:15-cv-01207-SI Document 184 Filed 05/19/17 Page 3 of 4



                                                      a. fraud (party drafting contract intentionally inserted different terms); or
                                   1
                                                      b. mutual mistake (neither party aware that contract contained different
                                   2          terms); or
                                   3                 c. “inequitable conduct” by the party opposing reformation (i.e., one party
                                              knew or suspected the policy contained different terms and was attempting to take
                                   4          advantage).
                                   5   Here, there was no evidence that the subject language involved a mutual mistake.

                                   6          The Court does not at this time intend to give additional instructions regarding

                                   7   reformation, as this claim will ultimately be decided by the Court. However the Court will

                                   8   consider the parties’ arguments on this issue at the jury instruction conference.

                                   9

                                  10          The Court intends to provide the following special verdict form to the jury:

                                  11                                                VERDICT
                                  12                 1. Did plaintiff prove, by clear and convincing evidence, that prior to the
Northern District of California
 United States District Court




                                              issuance of the insurance policy in April, 2007, there was an agreement between
                                  13          MHM and CAMICO on the scope of the reinstatement coverage as to which there
                                              was no mistake?
                                  14
                                              Yes_____ No_____
                                  15
                                              If yes, answer the next question. If no, proceed to the end of the verdict form and
                                  16          sign and date it.
                                  17                 2. Did plaintiff prove, by clear and convincing evidence, that the insurance
                                              policy as issued by CAMICO in April 2007 contained terms materially different
                                  18          from the parties’ agreement on the scope of the reinstatement coverage?
                                  19          Yes_____ No_____
                                  20          If yes, answer the next question. If no, proceed to the end of the verdict form and
                                              sign and date.
                                  21
                                                     3. Did plaintiff prove, by clear and convincing evidence, that the difference
                                  22          was the result of CAMICO’s fraud (intentionally inserting different terms in the
                                              contact)?
                                  23
                                              Yes_____ No_____
                                  24
                                              Proceed to the next question.
                                  25
                                                     4. Did plaintiff prove, by clear and convincing evidence, that the difference
                                  26          was the result of CAMICO’s inequitable conduct (that CAMICO knew or
                                              suspected the policy contained different terms and was attempting to take
                                  27          advantage)?
                                  28          Yes_____ No_____
                                                                                         3
                                          Case 3:15-cv-01207-SI Document 184 Filed 05/19/17 Page 4 of 4




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                                             The parties shall be prepared to address the verdict form at the instruction conference.
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                                             IT IS SO ORDERED.
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                                       Dated: May 19, 2017
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                                                                                      ______________________________________
                                   7                                                  SUSAN ILLSTON
                                                                                      United States District Judge
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                                  12
Northern District of California
 United States District Court




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